                             Case 5:20-cv-03488-GEKP    Document
                                                 UNITED STATES     1-3 COURT
                                                               DISTRICT Filed 07/15/20 Page 1 of 1
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNATION FORM
                      (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
                                                              459 Old Hershey Road, Elizabethtown, PA 17022
Address of Plaintiff: ______________________________________________________________________________________________
                                                          950 Pennsylvania Avenue, NW, Washington, DC 20530
Address of Defendant: ____________________________________________________________________________________________
                                                                                                        Elizabethtown, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                       Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                           Yes                      No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                          Yes                      No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                             Yes                      No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                          Yes                      No
       case filed by the same individual?

I certify that, to my knowledge, the within case               is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: __________________________________                                       Must sign here
                                                               __________________________________________                       ___________________________________
                                                                           Attorney-at-Law / Pro Se Plaintiff                                  Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                        B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                         1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                 2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                            3.    Assault, Defamation
       4.     Antitrust                                                                            4.    Marine Personal Injury
       5.     Patent                                                                               5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                           6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                         7.    Products Liability
       8.     Habeas Corpus                                                                        8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                              9.    All other Diversity Cases
       10.    Social Security Review Cases                                                               (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                              ARBITRATION CERTIFICATION
                                                    (The effect of this certification is to remove the case from eligibility for arbitration
                    Michael P. Gottlieb
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔        Relief other than monetary damages is sought.

           July 8, 2020                                                 /s/ Michael P. Gottlieb                                                       36678
DATE: __________________________________                                      ign here i i   e
                                                               __________________________________________                       ___________________________________
                                                                           Attorney-at-Law / Pro Se Plaintiff                                  Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
